          Case 2:19-cv-05946-RBS Document 27 Filed 07/28/21 Page 1 of 7




Evan L. Frank, Esq.
Alan L. Frank Law Associates, P.C.
PA Bar No. 311994
135 Old York Road
Jenkintown, PA 19046
215-935-1000
215-935-1110 (fax)
efrank@alflaw.net
Counsel for Plaintiff

                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
AC2T, Inc., d/b/a Spartan Mosquito,   :
                                      :    Civil Action
              Plaintiff,              :    Case Number: 2:19-cv-05946-RBS
                                      :
              v.                      :    Jury Trial Demanded
                                      :
Colin Purrington,                     :
                                      :
              Defendant.              :
____________________________________:


 PLAINTIFF’S MOTION TO DISMISS COUNTERCLAIM FOR ABUSE OF PROCESS

I.     Summary.

       The Defendant’s Answer includes a seven-paragraph counterclaim for abuse of process,

alleging that this lawsuit itself constitutes an abuse of process. Answer, ¶¶ 101 – 107. However,

there is no liability for abuse of process where a party “… has done nothing more than carry out

the process to its authorized conclusion...” Shaffer v. Stewart, 473 A.2d 1017, 1019 (Pa. Super.

1984). Here, the underlying case is a defamation suit arising out of hundreds of false statements

to the Plaintiff’s customers on the internet by the Defendant. “The purpose underlying

defamation law is to compensate an individual for pecuniary harm to one's reputation inflicted by

a defamatory statement.” Mzamane v. Winfrey, 693 F. Supp. 2d 442, 471 (E.D. Pa. 2010). The

Plaintiff is entitled to seek redress in court for the multiple false and defamatory statements the
          Case 2:19-cv-05946-RBS Document 27 Filed 07/28/21 Page 2 of 7




Defendant has made, and it is no abuse of process to do so. With these principles in mind, the

Court should dismiss the counterclaim for failure to state a claim for two reasons:

       First, the claim is not ripe for adjudication because it alleges that this entire litigation

supports an abuse of process claim. “The assertion, by way of a counterclaim, that the

underlying litigation as a whole constitutes an abuse of process fails to state a claim which is ripe

for adjudication. By definition, a lawsuit in its entirety cannot constitute an abuse of process

when it has not yet been concluded.” United States ex rel. Magid v. Barry Wilderman, M.D.,

P.C., 2005 U.S. Dist. LEXIS 2926, at 11 (E.D. Pa. Feb. 28, 2005) (quoting Access Fin. v.

Keystone State Mortg., 1996 U.S. Dist. LEXIS 14073, at 12-13 (W.D. Pa. Sep. 4, 1996)). Here,

the Defendant alleges that the Plaintiff committed abuse of process by making the allegations in

the Plaintiff’s pleadings, conducting discovery, and surviving the Defendant’s two motions to

dismiss. Answer, ¶ 101(a) – (d). That constitutes literally everything that has happened so far in

this case. Since the Defendant asserts “by way of a counterclaim, that the underlying litigation

as a whole constitutes an abuse of process”, he “fails to state a claim which is ripe for

adjudication.” Magid, 2005 U.S. Dist. LEXIS 2926 at 11.

       Second, the claim fails to allege an unlawful purpose, the second element of an abuse of

process claim. “[A]ssertions that a party had bad or malicious intentions or that it acted from

spite or with an ulterior motive in filing litigation insufficient to establish abuse of process…”

Magid, 2005 U.S. Dist. LEXIS 2926 at 11. Instead, the claimant must allege “an act or threat not

authorized by the process” or “an illegitimate aim such as extortion, blackmail, or to coerce or

compel the plaintiff to take some collateral action.” Id. at 11-12. The Defendant does not allege

any illegitimate aim such as “extortion” or “blackmail”, and he does not allege any act or threat

not authorized by the process. The seven paragraphs of the counterclaim do not identify any



                                                   2
          Case 2:19-cv-05946-RBS Document 27 Filed 07/28/21 Page 3 of 7




concrete thing that the Plaintiff did. Answer, ¶¶ 101 – 107. Instead, the counterclaim speaks in

generalities such as “over-the-top lengths of Spartan to attempt to silence him [Mr. Purrington]”,

“improper attempt to financially punish Mr. Purrington for refusing to settle…”, “the subsequent

proceedings in this action are now being weaponized by Spartan to imply financial disaster” and

“Spartan is promoting the survival of its knowingly false statements in its Complaint to

undermine or ostracize Mr. Purrington.” Id., ¶¶ 102 and 105 – 107. Since the Defendant only

alleges that the Plaintiff has bad intentions, and not that the Plaintiff actually did something

unlawful, he has not pleaded the second element of a claim for abuse of process.

II.    Facts.

       This is a defamation case. First Am. Compl, ¶¶ 5 – 8. The Plaintiff makes a product

called the Spartan Mosquito Eradicator, a mosquito control system. Id. ¶ 5. The Defendant has

been communicating to the Plaintiff’s customers through hundreds of messages about the

product on the internet, including on Amazon, Twitter, Facebook, and his own personal website.

Id., ¶ 6. The Plaintiff alleges that these statements are false and defamatory. ¶ 8. Among the

defamatory allegations are that the Plaintiff is scamming customers, the Plaintiff lies to

government agencies, the product helps spread invasive species, the product puts customers and

their families at risk of contracting diseases, and mosquitoes cannot fit inside the holes in the

product to drink the solution. Id., ¶ 5.

       The Plaintiff asserts claims for defamation and commercial disparagement. Id., ¶¶ 28 –

40. Both claims have survived the motion to dismiss stage, following two motions by the

Defendant (ECF 6 and 16) and two decisions by the Court (ECF 12 and 22).

       The Defendant’s Answer asserts one counterclaim for abuse of process, which consists of

seven paragraphs. Answer, ¶¶ 101 – 107. The Defendant alleges that the Plaintiff’s pleadings



                                                  3
          Case 2:19-cv-05946-RBS Document 27 Filed 07/28/21 Page 4 of 7




make false or misleading statements, id., ¶ 101(a); the Plaintiff refuses some of the Defendant’s

discovery requests, id., ¶ 101(b); the Plaintiff sought the Defendant’s deposition around the

middle of July, id.; the Plaintiff sought voluminous discovery, id., ¶ 101(c); and the Plaintiff “is

actively using the survival of their claim from the Motion to Dismiss to intimidate and chill the

speech of other individual scientists, organizations, and the like from publishing prior-completed

or future studies…”, id., ¶ 101(d). The Defendant alleges that the lawsuit has caused him

financial harm in that he has had to pay his counsel’s fees. Id., ¶¶ 102 – 103.

       The counterclaim does not allege any concrete acts by the Plaintiff. Instead, the

counterclaim makes generalized allegations such as “over-the-top lengths of Spartan to attempt

to silence him [Mr. Purrington]” and “improper attempt to financially punish Mr. Purrington for

refusing to settle…”. Id., ¶¶ 102 and 105.

III.   Argument.

       A.      Standard.

       Counterclaims must satisfy the same standard as claims in complaints. RAH Color

Techs. LLC v. Ricoh USA, Inc., 194 F. Supp. 3d 346, 348 (E.D. Pa. 2016). To survive a 12(b)

motion to dismiss, the “complaint must contain sufficient factual matter, accepted as true, to state

a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quotations omitted). A complaint “does not need detailed factual allegations,” but “requires

more than labels and conclusions, and a formulaic recitation of the elements…” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007).

       B.      The counterclaim is not ripe because the Defendant alleges that the entire
               action is an abuse of process.

       This Court has held that “a claim that a plaintiff has perverted the purpose of the entire

action, when alleged in the first pleading after the filing of the Complaint, is not a claim ripe for

                                                  4
           Case 2:19-cv-05946-RBS Document 27 Filed 07/28/21 Page 5 of 7




adjudication.” United States ex rel. Magid v. Barry Wilderman, M.D., P.C., 2005 U.S. Dist.

LEXIS 2926, at 11 (E.D. Pa. Feb. 28, 2005). “The assertion, by way of a counterclaim, that the

underlying litigation as a whole constitutes an abuse of process fails to state a claim which is ripe

for adjudication. By definition, a lawsuit in its entirety cannot constitute an abuse of process

when it has not yet been concluded.” Id. (quoting Access Fin. v. Keystone State Mortg., 1996

U.S. Dist. LEXIS 14073, at 12-13 (W.D. Pa. Sep. 4, 1996)).

         Paragraph 101 of the counterclaim lists the aspects of this case which the Defendant

claims support an abuse of process claim. Answer, ¶ 101. He generally lists the allegations in

the Plaintiff’s pleading, conducting discovery, and the survival of the Plaintiff’s claims over his

12(b) motions. Id., ¶ 101(a) – (d). The Defendant’s description of his claim is so broad and

generalized that it encompasses every aspect of the case up to this point. The parties have not

done anything other than file pleadings, conduct discovery, and brief two motions to dismiss. A

counterclaim that the litigation as a whole is an abuse of process fails to state a claim because

“by definition, a lawsuit in its entirety cannot constitute and abuse of process when it has not yet

been concluded.” Magid, 2005 U.S. Dist. LEXIS 2926 at 11. Since the Defendant alleges that

every part of this case supports his abuse of process claim, he has not stated a claim which is ripe

for adjudication.

         C.     The Defendant fails to allege the second element of an abuse of process claim,
                an unlawful act or purpose.

         The Defendant fails to allege the second element of abuse of process, an unlawful act or

purpose. A claim for abuse of process has three elements: 1) the defendant used a legal process

against the plaintiff, 2) primarily to accomplish a purpose for which the process was not

designed, 3) causing harm to the plaintiff. Lerner v. Lerner, 954 A.2d 1229, 1238 (Pa. Super.

2008).

                                                 5
         Case 2:19-cv-05946-RBS Document 27 Filed 07/28/21 Page 6 of 7




       With regard to the second element, it is not enough to allege that the opposing party had

bad intentions. “A cause of action for abuse of process requires some definite act or threat not

authorized by the process, or aimed at an objective not legitimate in the use of the process …

there is no liability where the defendant has done nothing more than carry out the process to its

authorized conclusion, even though with bad intentions.” Shaffer v. Stewart, 473 A.2d 1017,

1019 (Pa. Super. 1984) (cleaned up).

       The Defendant alleges that there were “over-the-top lengths of Spartan to attempt to

silence him [the Defendant].” Answer, ¶ 105. However, the Defendant does not allege a single

example of Spartan’s “over-the-top lengths” to silence him. This conclusory statement, without

any facts backing it up, cannot sustain a claim.

       The Defendant also alleges that “Spartan is promoting the survival of its knowingly false

statements in its Complaint to undermine or ostracize Mr. Purrington.” Answer, ¶ 107. The

term “survival” probably refers to the Court’s decision to deny the Defendant’s two motions to

dismiss and allow the Plaintiff’s claims to move forward. Again, this generalized statement is

not supported by any facts in the counterclaim – what did the Plaintiff do to promote the survival

of its claims, and how did the Plaintiff undermine or ostracize the Defendant. Moreover, the

Court’s decisions are already public – there is no reason why a party cannot publicize a decision

in its favor. There is a “common law right to inspect and copy public records and documents,

including judicial records and documents.” Leucadia, Inc. v. Applied Extrusion Techs., 998 F.2d

157, 161 (3d Cir. 1993) (cleaned up). This right “antedates the Constitution” and “is now

beyond dispute.” Id. “The public’s exercise of its common law access right in civil cases

promotes public confidence in the judicial system …” Littlejohn v. BIC Corp., 851 F.2d 673,

678 (3d Cir. 1988).



                                                   6
          Case 2:19-cv-05946-RBS Document 27 Filed 07/28/21 Page 7 of 7




       The Defendant makes a similar allegation at paragraph 106: “… subsequent proceedings

in this action are now being weaponized by Spartan to imply financial disaster …” Answer, ¶

106. Again, no facts are alleged to support the conclusory allegation that the proceedings are

“weaponized.”

       The Defendant alleges nothing more than that the Plaintiff filed a Complaint, pursued

discovery, objected to some of the Defendant’s discovery, and defeated his 12(b) motions. That

describes every civil case that survives a motion to dismiss. “[T]here is no liability where the

defendant has done nothing more than carry out the process to its authorized conclusion, even

though with bad intentions.” Di Sante v. Russ Fin., 380 A.2d 439, 441 (Pa. Super. 1977).

Setting aside the conclusory allegations of bad intent, the only facts alleged are that the Plaintiff

filed and litigated a defamation case.

       The Defendant has not alleged the requisite facts to establish element two of an abuse of

process claim. For these reasons, the counterclaim must be dismissed.

IV.    Conclusion.

       The Defendant has not alleged a claim which is ripe for adjudication. The Defendant also

failed to allege the second element of an abuse of process claim. For these reasons, the

counterclaim should be dismissed.

                                                       Respectfully submitted,


                                                       _/s/ Evan L. Frank_____________
                                                       Evan L. Frank, Esq. (PA #311994)
                                                       Alan L. Frank Law Associates, P.C.
                                                       135 Old York Road
                                                       Jenkintown, PA 19046
                                                       215-935-1000/ 215-935-1110 (fax)
                                                       afrank@alflaw.net
                                                       Counsel for Plaintiff
July 28, 2020

                                                  7
